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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT


ARLETTE C. JACKSON                                      :
                                                        :
        Plaintiff                                       :
                                                        :                 CIVIL ACTION NO.
vs.                                                     :                 3:17-CV-00103-AVC
                                                        :
JAMES WELTY; and YALE UNIVERSITY                        :
                                                        :
        Defendants                                      :                 FEBRUARY 8, 2017



              DEFENDANT YALE UNIVERSITY’S MOTION TO DISMISS

        The Defendant, Yale University (“Yale”), hereby moves to dismiss the Plaintiff’s

Complaint. Yale adopts and incorporates by reference the arguments set forth in the motion to

dismiss and accompanying memorandum of law filed by co-defendant James Welty on

January 30, 2017. (Doc. No. 12.) As Mr. Welty correctly notes in his motion to dismiss, the

Plaintiff’s Complaint does not contain a single allegation against Yale. In fact, Yale is

mentioned only in the heading of the Plaintiff’s Complaint, where she refers to The Standard

Inc. as “c/o Yale University.”      (Complaint, p. 1.)       Moreover, all allegations regarding

discrimination are directed toward Standard. The Complaint states, in pertinent part:

        The Standard Inc. has been very rude since became acquainted. They are very rude,
        and was given emails and documents on time, but they didn’t accept. I have no money
        to pay bills nor holidays. This isn’t their first time. I have been discriminated against,
        and racially discriminated against as a genocide. Violations of the disability act in CT.


(Complaint, p. 2).


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       Thus, the Plaintiff has not pled any cause of action against Yale; she has merely

alleged claims against Standard. For this reason, and the reasons articulated more fully in Mr.

Welty’s Motion to Dismiss, Yale respectfully requests that this Court grant its Motion to

Dismiss.



                                                    THE DEFENDANT
                                                    YALE UNIVERSITY



                                              BY:         /s/ Patrick M. Noonan
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                                      CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing Appearance
was filed electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by e-mail to all parties by operation of the court’s electronic
filing system or by mail to anyone unable to accept electronic filing as indicated on the Notice
of Electronic Filing. Parties may access this filing through the court’s CM/ECF System.

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                                                                          /s/
                                                      Patrick M. Noonan




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